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CHAMBERS OF                                           U.S. COURTHOUSE - CHAMBERS 5D
RICHARD D. BENNETT                                             101 W. LOMBARD STREET
UNITED STATES DISTRICT JUDGE                                     BALTIMORE, MD 21201
NORTHERN DIVISION                                                     TEL: 410-962-3190
                                                                       FAX: 410-962-3177
                                       January 3, 2024
                                      LETTER ORDER

To Counsel of Record:        John Doe v. University of Maryland, College Park (No. RDB-23-3507)

Dear Counsel:

        This letter order addresses scheduling matters in the above-captioned case. As this
Court ruled at the hearing on Plaintiff’s Motion for Temporary Restraining Order (ECF No.
2) on January 3, 2024, this Court will hear arguments with respect to Plaintiff’s Motion for
Preliminary Injunction (ECF No. 2) on Friday, January 12, 2024 at 10:30 AM. Defendant’s
Memorandum in Opposition to Plaintiff’s Motion for Preliminary Injunction (ECF No. 2) is
due by 5:00 PM on Tuesday, January 9, 2024 and shall not exceed 30 pages. Any Response
filed by Plaintiff shall be due by noon on Thursday, January 11, 2024 and shall not exceed 10
pages.

        Notwithstanding the informal nature of this letter, it is an Order of this Court and the
Clerk is directed to docket it as such.


                                            Sincerely,
                                                           ______/s/____________
                                                           Richard D. Bennett
                                                           United States Senior District Judge




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